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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05-20122-1)

BRENDA COLBERT

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING’ PURSUANT TO
BAIL REFORM AC'I`

Upon motion of the Government, it is ORDERED that a detention hearing is set for
MONDAY, July 25, 2005 at 3:30 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. S, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing
Date: July 21, 2005 § /Z/;`

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'If not held immediately upon defendant's first appearance, the hearing may be condoned for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror. "

AO 470 {8/85) Order of Terrporary Detention

Th|s document entered on the docket eatl cu\npllance
with Ftute 55 and/or 32[b) FHCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

